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                                                                                             NOV 05 2019
                             UNITED STATES DISTRICT COURT                                    c~~~'lfi·J1~'c1:
                             SOUTHERN DISTRICT OF FLORIDA                                   s. 0 · OF FLA.- MiAMi
                             CASE    N0.1 9 - 2 0 7 3 9~;~·-··-""--:.we
                                            1s u.s.c. § 371                    C!,-.MART/ NE7
                                            18 u.s.c. § 1546(a)                   ,   GIS'f.RAn JUDGEL
                                            18 u.s.c. § 2                         '   OT~
                                            18 U.S.C. § 982(a)(6)

  UNITED STATES OF AMERICA

 vs.

 JOHN H. MYERS,

                Defendant.
 __________________________!

                                          INDICTMENT

         The Grand Jury charges that:

                                   GENERAL ALLEGATIONS

         At various times relevant to this Indictment:

         1.     Bal Harbour Quarzo, LLC ("Bal Harbour Quarzo") was a Florida limited liability

 company with its principal place of business listed as 1395 Brickell Avenue, Suite 1020, Miami,

  FL 33131.

         2.     Synergy Capital Group, LLC ("Synergy Capital") was a Florida limited liability

 company with its principal place of business listed as 1395 Brickell Avenue, Suite 1020, Miami,

  FL 33131, and was a de facto holding company over Bal Harbour Quarzo.

         3.     Synergy Maintenance Group, LLC ("Synergy Maintenance") was a Florida limited
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  liability company with its principal place of business listed as 1395 Brickell Avenue, Suite 1020,
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  Miami, FL 33131.
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        4.     OA Developments, Inc. ("OA Developments") was a Florida corporation with its

 principal place of business listed as 1395 Brickell Avenue, Suite 1020, Miami, FL 33131, and was

 a managing member ofBal Harbour Quarzo.

        5.     VMS Professional Services, LLC ("VMS") was a Florida limited liability company

 with its principal place of business listed as 1395 Brickell Avenue, Suite 1020, Miami, FL 33131.

        6.     Andes Global Trading LLC ("Andes Global") was a Florida limited liability

 company with its principal place of business listed as 1011 SunnyBrook Road, PH, Suite 1110,

 Miami, FL 33136.

        7.     Defendant JOHN H. MYERS was a resident of Miami-Dade County, Florida and

 a licensed member of the bar ofthe District of Colombia who practiced immigration law.

        8.     Non-Citizen 1 was a citizen of Argentina, a resident of Broward County, Florida,

 and was listed as a managing member of Synergy Maintenance.

        9.     Non-Citizen 2 was a citizen and resident of Argentina and was listed as a managing

 member of VMS.

        10.    Non-Citizen 3 was a citizen of Colombia, a resident of Miami-Dade County,

 Florida, and a managing member of Synergy Capital and OA Developments.

        11.    The E-2 visa program allowed a national of a country with which the United States

 maintained a treaty of commerce and navigation to be admitted to the United States when investing

 a substantial amount of capital in a bona fide United States business.   A substantial amount of

 capital was (1) substantial in relationship to the total cost of either purchasing an established

 enterprise or establishing a new one; (2) sufficient to ensure the treaty investor's financial

 commitment to the successful operation of the enterprise; and (3) of a magnitude to support the

 likelihood that the treaty investor would successfully develop and direct the enterprise. A bona

 fide enterprise referred to a real, active and operating commercial or entrepreneurial undertaking

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 that produced services or goods for profit. It was required to meet applicable legal requirements

 for doing business within its jurisdiction.

         12.    The investment enterprise could not be marginal. A marginal enterprise was one

 that did not have the present or future capacity to generate more than enough income to provide a

 minimal living for the treaty investor and his or her family. Depending on the facts, a new

 enterprise might not be considered marginal even if it lacked the current capacity to generate such

 income. In such cases, however, the enterprise would be expected to have the capacity to generate

 such income within five years from the date that the treaty investor's E-2 classification began.

         13.    In order to obtain an E-2 visa, a treaty investor who was currently in the United

 States in a lawful nonimmigrant status could file a Petition for Nonimmigrant Work Form, Form

 1-129, with the United States Citizenship and Immigration Services ("USCIS"), an agency of the

 Department of Homeland Security ("DHS").        A request for E-2 classification could not be made

 on Form 1-129 if the beneficiary was physically outside the United States.

         14.    If a treaty investor was outside the United States, the treaty investor could then

 apply at a United States Embassy or Consulate by completing the Department of State Online

 Nonimmigrant Visa Application, Form DS -160, and Nonimmigrant Treaty Trader/Treaty Investor

 Application, Form DS-156E.       Additionally, evidence and documentation ofthe treaty investor's

 investment and involvement was required to be presented at or before the visa interview.      If the

 application was approved by a Consular representative, the E-2 visa could be issued to the treaty

 investor. Terms of the visa required USCIS to approve of any "substantive change" in the terms

 of conditions of E-2 status, such as a merger, acquisition or major event that affected the treaty

  investor's previously-approved relation with the organization or business.

         15.    Under the immigration laws of the United States, the United States government

  could grant a non-citizen the right to live and work in the United States for an extended period.

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 One of the more common ways that happened was by the USCIS granting a non-citizen the status

 of "lawful permanent resident," also known as "LPR status," and commonly referred to as having

 a "green card."

         16.       One of the pathways for obtaining LPR/green card status involved a non-citizen

 obtaining a Permanent Employment Certification ("PEC").         In order to receive a PEC to perform

 skilled or unskilled labor in the United States, the non-citizen first had to obtain a formal

 certification from the Secretary of Labor that there were insufficient United States workers willing

 and qualified to perform the labor in question and that the employment of the non-citizen would

 not adversely affect the wages and working conditions of United States workers similarly

 employed.     Under the application process established by the Secretary of Labor, the non-citizen

 could not apply directly for a certification.    Rather, the non-citizen's prospective employer had

 to apply on the non-citizen's behalf.           By this process, the prospective employer had to

 demonstrate, among other things, (1) that the employer had a bona fide job opportunity; (2) that

 the job opportunity was clearly open to United States workers; and (3) that the employer had been

 unable to recruit a United States worker qualified and willing to fill the job.

         17.     To obtain a labor certification, the non-citizen's prospective employer had to file

 an Application for Alien Employment Certification, officially known as a form ETA 9089, with

 the United States Department of Labor ("DOL").           This application had to be completed and

  signed under penalty of perjury by the prospective employer.         In the application, the employer

 represented that the employer had a specific job to fill; described the nature, location, terms, and

  requirements of the job; and listed the name, address, and immigration status of the non-citizen

  seeking the job.    The employer also certified that the job opportunity had been and was at the

  time of filing clearly open to any qualified United States worker.



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          18.      If the DOL approved the application and issued a certification, the non-citizen's

  prospective employer could then file on the non-citizen's behalf an Immigrant Petition for Alien

  Worker, officially known as a form 1-140, with the USCIS.       Ifthe USCIS approved the 1-140 and

  the non-citizen was in the United States lawfully at that time, then the non-citizen could adjust his

  status to that of a lawful permanent resident by filing an Application to Register Permanent

 Residency or Adjustment of Status, officially known as a form 1-485, with the USCIS.

          19.      Both the non-citizen and the prospective employer could engage an attorney to

  represent their respective interests during the application process for labor certification.     If the

  non-citizen or the prospective employer engaged an attorney, however, the attorney had to sign

  and file a notice of appearance with the DHS on a form G-28 that specifically named the attorney's

  client or clients.

          20.      A lawful permanent resident could work and live in the United States indefinitely

  and, should he or she so choose, apply for United States citizenship.

          21.      Forms 9089, 1-140, and 1-485 were applications required by the immigration laws

  of the United States and the regulations prescribed thereunder.

                                         COUNT 1
                            CONSPIRACY TO COMMIT VISA FRAUD
                                     (18 u.s.c. § 371)

          1.       Paragraphs 1 through 5 and 7 through 14 of the General Allegations section of this

  Indictment are re-alleged and fully incorporated herein by reference.

          2.       From in or around November 2012, through in or around July 2015, in Miami-Dade

  County, in the Southern District ofFlorida, and elsewhere, the defendant,

                                          JOHN H. MYERS,

  did willfully, that is, with the intent to further the object of the conspiracy, and knowingly combine,

  conspire, confederate, and agree with persons known and unknown to the Grand Jury to commit

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 an offense against the United States, that is, to obtain and receive, and attempt to obtain and

 receive, a nonimmigrant visa and other document prescribed by statute or regulation for entry into

 and as evidence of authorized stay and employment in the United States, knowing it to have been

 procured by means of any false claim or statement, and to have been otherwise procured by fraud

 or unlawfully obtained, in violation of Title 18, United States Code, Section 1546(a).

                              PURPOSE OF THE CONSPIRACY

         3.     It was a purpose of the conspiracy for the defendant and his co-conspirators to

 encourage individuals to invest in Bal Harbour Quarzo by fraudulently obtaining for those

 investors E-2 nonimmigrant visas.

                          MANNER AND MEANS OF CONSPIRACY

         The manner and means by which the defendant and his co-conspirators sought to

  accomplish the object and purpose of the conspiracy included, among others, the following:

         4.     Non-Citizen 3 caused Synergy Maintenance to be incorporated in the state of

  Florida.

         5.     Non-Citizen 3 opened a bank account in the name of Synergy Maintenance at Bank

  of America.

         6.     Non-Citizen 1 wired $250,000 into the Synergy Maintenance Bank of America

  account. Non-Citizen 3 then caused $29,925 of those funds to be disbursed to prior investors in

  Bal Harbour Quarzo. Further, Non-Citizen 3 caused $154,500 of those funds to be disbursed to

  Synergy Capital for use by Synergy Capital and Bal Harbour Quarzo.

         7.     JOHN H. MYERS prepared and filed an E-2 nonimmigrant visa application for

  Non-Citizen 1. That application falsely claimed that Non-Citizen 1 invested a substantial amount

  of capital in a bona fide United States business, specifically Synergy Maintenance. In reality,



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 Synergy Maintenance was a shell corporation established to facilitate Non-Citizen 1's investment

 in Bal Harbour Quarzo.

         8.     Non-Citizen 3 caused VMS to be incorporated in the state of Florida.

         9.     Non-Citizen 3 opened a bank account in the name ofVMS at Sabadell United Bank.

         10.    Non-Citizen 2 deposited a total of $350,000 into the VMS Sabadell United Bank

 account. Non-Citizen 3 then caused $119,500 of those funds to be disbursed to prior investors in

 Bal Harbour Quarzo. Further, Non-Citizen 3 caused $175,000 of those funds to be disbursed to

 Synergy Capital for use by Synergy Capital and Bal Harbour Quarzo.

         11.    JOHN H. MYERS prepared and filed an E-2 nonimmigrant visa application for

 Non-Citizen 2. That application falsely claimed that Non-Citizen 2 invested a substantial amount

 of capital in a bona fide United States business, specifically VMS. In reality, VMS was a shell

 corporation established to facilitate Non-Citizen 2's investment in Bal Harbour Quarzo.

         All in violation of Title 18, United States Code, Section 371.

                                            COUNT2
                                          VISA FRAUD
                                       (18 U.S.C. § 1546(a))

         1.     Paragraphs 1, 2, 4, 5, 7, and 9 through 14 ofthe General Allegations section ofthis

 Indictment are re-alleged and fully incorporated herein by reference.

         2.     On or about June 26, 2015, in Miami-Dade County, in the Southern District of

 Florida, and elsewhere, the defendant,

                                          JOHN H. MYERS,

  did knowingly present and cause to be presented to the Consular Section of the United States

 Embassy in Buenos Aires, Argentina, an application required by the immigration laws and

  regulations prescribed thereunder, which contained a false statement with respect to a material

  fact, that is, Forms DS-160 and DS-156E and supporting documents which falsely stated that Non-

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 Citizen 2 had invested a substantial amount of capital in a bona fide United States business,

 specifically VMS, when in truth and fact, as the Defendant then and there well knew, that statement

 was false, in violation of Title 18, United States Code, Sections 1546(a) and 2.

                                     COUNT3
                    CONSPIRACY TO COMMIT IMMIGRATION FRAUD
                                  (18 u.s.c. § 371)

         1.     Paragraphs 1, 2, 4, 6, 7, 10, and 15 through 21 of the General Allegations section

 of this Indictment are re-alleged and fully incorporated herein by reference.

         2.     From in or around November 2013, through in or around January 2016, in Miami-

 Dade County, in the Southern District of Florida, and elsewhere, the defendant,

                                         JOHN H. MYERS,

 did willfully, that is, with the intent to further the object of the conspiracy, and knowingly combine,

 conspire, confederate, and agree with persons known and unknown to the Grand Jury to commit

 an offense against the United States, that is, to subscribe as true under penalty of perjury (as

 permitted under Title 28, United States Code, Section 1746) a false statement with respect to a

 material fact in an application, affidavit, and other document required by the immigration laws and

 regulations prescribed thereunder and to knowingly present such application, affidavit, and other

 document which contained such false statement and which failed to contain any reasonable basis

 in law or fact, in violation ofTitle 18, United States Code, Section 1546(a).

                               PURPOSE OF THE CONSPIRACY

         3.     It was a purpose of the conspiracy for the defendant and his co-conspirators to

  obtain LPR status for Non-Citizen 3.

                          MANNER AND MEANS OF CONSPIRACY

         The manner and means by which the defendant and his co-conspirators sought to

  accomplish the object and purpose of the conspiracy included, among others, the following:

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         4.      JOHN H. MYERS and his co-conspirators prepared and submitted to the DOL a

 fraudulent ETA 9089 application naming Andes Global as the sponsor and Non-Citizen 3 as the

 beneficiary.    This application contained material false statements and misrepresentations,

 including (a) that Andes Global intended to hire Non-Citizen 3 for a bona fide job opportunity; (b)

 that the same job opportunity had been clearly open to any qualified United States worker; (c) that

 Andes Global had legitimately tried and failed to recruit a United States worker to fill the job

 described in the application; and (d) that there was no familial relationship between Non-Citizen

 3 and the owners, stockholders, partners, corporate officers, or incorporators of Andes Global.   In

 fact, there was no job opening at Andes Global, the fictitious job opening was created for the sole

 purpose of obtaining LPR status for Non-Citizen 3, who was a relative of the Chief Financial

 Officer of Andes Global, and had a qualified United States citizen applied for the position, he or

 she would not have been hired.

         5.      After the DOL approved the Form 9089 labor certification, JOHN H. MYERS and

 his co-conspirators filed a fraudulent 1-140 petition for Non-Citizen 3 falsely claiming that Non-

 Citizen 3 would be employed full-time by Andes Global.

         All in violation of Title 18, United States Code, Section 371.

                                            COUNT4
                                     IMMIGRATION FRAUD
                                       (18 U.S.C. § 1546(a))

         1.      Paragraphs 1, 2, 4, 6, 7, 10, and 15 through 21 of the General Allegations section

  of this Indictment are re-alleged and fully incorporated herein by reference.

         2.      On or about November 13, 2015, in Miami-Dade County, in the Southern District

  of Florida, and elsewhere, the defendant,

                                         JOHN H. MYERS,

  did knowingly subscribe as true under penalty of perjury (as permitted under Title 28, United

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  States Code, Section 1746) a false statement with respect to a material fact in an application,

  affidavit, and other document required by the immigration laws and regulations prescribed

  thereunder and to knowingly present such application, affidavit, and other document which

  contained such false statement and which failed to contain any reasonable basis in law or fact, that

  is, a fraudulent I-140 petition for Non-Citizen 3 falsely claiming that Non-Citizen 3 would be

  employed full-time by Andes Global, in violation of Title 18, United States Code, Sections 1546(a)

  and 2.


                                               FORFEITURE
                                           (18 U.S.C. § 982(a)(6))

           1.     The allegations of this Indictment are hereby re-alleged and by this reference fully

  incorporated herein for the purpose of alleging forfeiture to the United States of certain property

  in which the defendant, JOHN H. MYERS, has an interest.

           2.     Upon conviction of a violation of, or a conspiracy to violate, Title 18, United States

  Code, Section 1546, as alleged in this Indictment, the defendant shall forfeit to the United States,

  pursuant to Title 18, United States Code, Section 982( a)( 6), the following:

           (a)    any conveyance, including any vessel, vehicle, or aircraft used in the commission

           of such violation; and/or

           (b)    any property, real or personal -

                          (1)      that constitutes, or is derived from or is traceable to the proceeds

                          obtained directly or indirectly from the commission of such violation;

                          and/or

                          (2)      that was used to facilitate, or was intended to be used to facilitate, the

                          commission of such violation.



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         3.        If any of the property described above, as a result of any act or omission of any of

  the defendant:

                   a)     cannot be located upon the exercise of due diligence;

                   b)     has been transferred or sold to, or deposited with, a third party;

                   c)     has been placed beyond the jurisdiction of the court;

                   d)     has been substantially diminished in value; or

                   e)     has been commingled with other property which cannot be divided
                          without difficulty,

  the United States shall be entitled to forfeiture of substitute property pursuant to Title 21, United

  States Code, Section 853(p).

         All pursuant to Title 18, United States Code, Section 982( a)( 6), and the procedures set forth

  at Title 21, United States Code, Section 853, made applicable by Title 18, United States Code,

  Section 982(b ).


                                                         A TRUE BILL



                                                         FdREPERSON




  SEAN PAUL CRONIN
  ASSISTANT UNITED STATES ATTORNEY




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                                                  UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                       CASE NO . _________________________________
  v.
                                                               CERTIFICATE OF TRIAL ATTORNEY*
John H. Myers,
                                                               Superseding Case Information:
                                  Defendant.

Court Division:   (Select One)                                 New defendant(s)           Yes      No
 .f     Miami                    Key West                      Number of new defendants
        FTL                      WPB           FTP             Total number of counts

        1.         I have carefully considered the allegations of the indictment, the number of defendants, the number of
                   probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.         I am aware that the information supplied on this statement will be relied upon by the Judges of this
                   Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                   Act, Title 28 U.S.C. Section 3161.

        3.         Interpreter:    (Yes or No)            No
                   List language and/or dialect
        4.         This case will take _4_ days for the parties to try.
        5.         Please check appropriate category and type of offense listed below:

                   (Check only one)                                   (Check only one)

                                                     .(
        I          0 to 5 days                                        Petty
        II         6 to 10 days                                       Minor
        III        11 to 20 days                                      Misdem.
        IV         21 to 60 days                                      Felony
        v          61 days and over
        6.       Has this case previously been filed in this District Court?     (Yes or No) No
         If yes: Judge                                     Case No.
                                                                      ----------------------------
         (Attach copy of dispositive order)
         Has a complaint been filed in this matter?         (Yes or No)      No
         If yes: Magistrate Case No.
         Related miscellaneous numbers:
          Defendant(s) in federal custody as of
          Defendant(s) in state custody as of
         Rule 20 from the District of
            Is this a potential death penalty case? (Yes or No)

            7.      Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                    prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No .(

            8.      Does this case originate from a matter pending in the Northern Region U.S. Attorney's Office
                    prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?           Yes            No _ . f_



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                                                                       SEAN PAUL CRONIN
                                                                       ASSISTANT UNITED STATES ATTORNEY
                                                                       Court No. A5500940
  *Penalty Sheet(s) attached                                                                                  REV 8113/20 18
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEET

  Defendant's Name:_,J-"'o=hn=-"'-H=.--"M=.J--y=er=s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  Case No: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

  Count#: 1

  Conspiracy to Commit Visa Fraud

  Title 18 United States Code Section 371

  * Max.Penalty:               5 years' imprisonment

  Count#: 2

  Visa Fraud

  Title 18, United States Code, Section 1546(a)

  * Max.Penalty:               10 years' imprisonment

  Count#: 3

  Conspiracy to Commit Immigration Fraud

  Title 18 United States Code Section 371

  * Max.Penalty:               5 years' imprisonment


  Count#:4

  Immigration Fraud

  Title 18, United States Code, Section 1546(a)

  * Max.Penalty:               10 years' imprisonment



  *Refers only to possible term of incarceration, overlap does not include possible fines,
  restitution, special assessments, parole terms, or forfeitures that may be applicable.
